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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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IN RE:   KEURIG GREEN MOUNTAIN                  14 MD 2542   (VSB) (HBP
SINGLE SERVE COFFEE ANTITRUST
LITIGATION                                      OPINION
                                                AND ORDER
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             PITMAN, United States Magistrate Judge:


             By letter motion dated September 17, 2019, defenda

seeks an Order to compel plaintiff TreeHouse to produce docu               nts

produced in Keurig,     Inc. v. Sturm Foods,     Inc.,   Civ. No. 10-      1-

SLR, 2012 WL 4049799      (D. Del. Sept. 13, 2012), aff'd,      732 F.

1370 (Fed. Cir. 2013)      ("the Sturm Litigation")      (Letter Motio

dated Sept. 17, 2019      (Docket Item 681)).     Having heard oral

argument on September 23, 2019,       for the reasons set forth be         w,

defendant's motion is denied.

             Defendant argues that it is entitled to the Sturm

Litigation documents because "evidence adduced during the pr'              r

litigation is directly relevant to the bases for Keurig pros               ut-

ing the claims, as well as its decision to later seek an app               l    .

       "   (Letter Motion, dated Sept. 17, 2019      (Docket Item 681          at

3).    TreeHouse contends that the documents are not relevant

because defendant did not possess them at the time it decide               to

commence the Sturm Litigation and defendant did not rely on                em

on appeal.     Thus, TreeHouse contends the documents do not be                on

the reasonableness of defendant's decision to commence the S               rm
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Litigation or to appeal the District Court's adverse summary

judgment decision.

          TreeHouse's arguments are persuasive.

that a litigant cannot decide to commence a lawsuit based on

information that is subsequently disclosed in discovery afte            the

commencement of the lawsuit.     In Hoffman-La Roche Inc. v.

Genpharm Inc., 50 F. Supp. 2d 367, 380 (D.N.J. 1999), the dis

trict court noted that

           [t]he resolution of the question whether plaintiffs
          suit is objectively baseless .    . involves the det          r-
          mination of whether plaintiffs undertook a reasonab           e
          investigation before filing suit, whether plaintiff
          knew or should have known that [defendant] had not
          infringed the .    . patents, and whether a reasonab          e
          litigant could have realistically expected success            n
          the merits at the time the suit was filed.

(Emphasis added).    Thus, documents produced in discovery i n t e

Sturm Litigation cannot inform the determination of whether

defendant's commencement of the litigation was reasonable.

Accordingly, the documents sought by defendant are not releva t

to TreeHouse's sham litigation claims in this action.

          TreeHouse is also correct that the documents are no

relevant to defendant's decision to appeal the District Courts

adverse judgment.    Defendant's appeal in the Sturm Litigation

raised a pure question of law, namely whether "the district curt

erred by declining to apply the substantial embodiment test

articulated by the Supreme Court in      uanta Com uter    Inc. v.      G

Electronics, Inc., 553 U.S. 617, 128 S. Ct. 2109, 170 L.Ed.2            996

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(2008)            "   Keurig,   Inc. v. Sturm Foods, Inc., 732 F.3d

1370, 1372 (Fed. Cir. 2013).        In defendant's appellate brief, it

claimed that "the district court erred by expressly disregar               ng

the substantial embodiment test              "   (Brief of Plaintiff-

Appellant Keurig, Incorporated, Keurig Incorporated v. Sturm

Foods, Inc., Docket 2013-1072, dated Jan. 14, 2013, at 10).                t
oral argument, defendant conceded none of the documents produ ed

in that action were included in the appendix submitted to the

Federal Circuit.      Thus, because defendant did not rely on the

documents at issue on appeal, I do not see how they can be

relevant to assessing whether defendant's decision to appeal               as
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reasonable.       No competent attorney would omit important disc v-

ery material from an appellate appendix.




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      At least one case has considered documents produced in
discovery in assessing whether a party had a reasonable basis              to
commence the litigation.   Matsushita Elec. Cor . v. Loral Cor             .,
974 F. Supp. 345, 349-51, 356 (S.D.N.Y. 1997) (Jones, D.J.).
Given the nature of the issue Keurig raised in its appeal in               he
Sturm Litigation and the fact that no documents produced in
discovery were included in the appendix on appeal, it does no
appear that any of the documents produced in the Sturm Litiga              ion
could explain defendant's decision to pursue its claims in th              t
action.   Thus, I need not decide whether it is appropriate to
follow Matsushita.

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           Accordingly, for all the foregoing reasons, defend nt's

motion is denied.   The Clerk of the Court is respectfully re

quested to mark Docket Item 681 closed.


Dated:   New York, New York
         September 30, 2019

                                       SO ORDERED



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                                       HENRY
                                                       Magistrate       dge
Copies transmitted to:

All Counsel




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